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lN THE UN|TED STATES DlSTRlCT COURT
FOR THE WESTERN DISTR|CT OF TENNESSEE 05 AUG 18 PH L§§ 03
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UN|TED STATES OF AMER|CA,
Plairitiff,
VS. CFI. NO. 05-20153-B

CHARLES MONGER,

\-._r-._¢-._r\_/-_/-._d-_/-._/-._/~._/

Defendant.

 

ORDER ON CHANGE OF PLEA
AND SETTING

 

This cause came to be heard on August 18, 2005, the United States Attorney for this district,
Tim DiScenza, appearing for the Government and the defendantl Charles l\/|onger, appearing in person,
and With counse|, Steffen Schreiner, who represented the defendant

With leave of the Court, the defendant Withdrew the not guilty plea heretofore entered and entered
a plea of guilty to Count 1 of the |ndictment.

P|ea colloquy Was held and the Court accepted the guilty plea.

SENTENC|NG in this ease is SET for THURSDAY, NOVEN|BER 17, 2006, at 9:00 A.N|.,
in Courtroom No. 1, on the 11“‘ floor before Judge J. Danie| Breen.

Defendant is allowed to remain released on present bond.

doe

J. DAN|EL BREEN_/
ITED USTATES olsTnlcT JuDGE

l‘K
ENTERED this thejl day of August, 2005.

This document entered on the docket sheet in ‘ornpii'~~§,b
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With Fiu|e 55 anci;'or 32(b) FfiCrP on -'» 3 .§:»Oj

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 25 in
case 2:05-CR-20153 Wes distributed by faX, meil, or direct printing on
August 19, 2005 to the parties listed.

 

 

Steffen G. Schreiner

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Honorable J. Breen
US DISTRICT COURT

